        Case 1:20-cv-00891-EK-SJB Document 17 Filed 07/21/20 Page 1 of 1 PageID #: 82
Form 27 - AFFIDAVIT OF SERVICE
                                                                                                        P3500154

         ELEFTERAKIS, ELEFTERAKIS & PANEK                Wolf Pamphile
U S    DISTRICT COURT EASTERN DISTRICT OF             NEW YORK

ERICK DIAZ CRUZ                                                                          index No. 1:20-CV-00891-
                                                                                         EK-SJB
                                                                           PLAINTIFF     Date Filed
                              - vs -                                                     Office No.
HENRY V. SANTANA, OFFICER OF U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT                                                                              Court Date
                                                                           DEFENDANT
        STATE OF NEW YORK,        COUNTY OF NEW YORK              :SS:
ERIC GOLDKLANK       being duly sworn, deposes and says; I am over             18   years of age, not       a   party to
this action,   and    reside in the State of New York. That on the              21ST    day of     JULY, 2020 4:05PM
at
      C/O DEPARTMENT OF HOMELAND SECURITY/U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, NYC
FUGITIVE OPERATIONS 26 FEDERAL PLAZA
      NEW YORK NY 10278
I served a true copy of the SUMMONS IN A CIVIL ACTION AND FIRST AMENDED COMPLAINT AND DEMAND
FOR JURY TRIAL upon HENRY V. SANTANA, OFFICER OF U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT the
DEFENDANT therein named by delivering to, and leaving
                                                      personally with WEN-TING CHENG ESQ,
ATTORNEY AUTHORIZED TO ACCEPT a               true copy of each thereof.
Deponent describes the person served as aforesaid                  to the best of deponent's      ability   at the time
and circumstances         of the service      as   follows:
SEX: FEMALE COLOR: ASIAN HAIR: BLACK
APP.AGE: 40 APP. HT: 5'6 APP. WT: 135
OTHER IDENTIFYING FEATURES
MASK



Sworn   to befor     me    th1
21ST day   of JU          2020

                                                              ERIC GOLDKLANK DC   IC #1298914
                                                              PM Legal, LLC
SELENA INES          ES                                       75 MAIDEN LANE llTH FLOOR
Notary Public, State of          New   York                   NEW YORK, NY 10038
No. OlAD6365042                                               Reference No: 7-JEl-3500154
Qualified in   NEW YORK COUNTY
Commission Expires 09/25/2021
